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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        BROWNSVILLE DIVISION


JOHN ALLEN RUBIO,                     Case No. 1:18-CV-00088
    Petitioner,
                                      District Judge Rolando Olvera
   v.

BOBBY LUMPKIN, Director,
Texas Department of
Criminal Justice,
Correctional Institutions Division,
      Respondent.




                    MOTION FOR STAY AND ABEYANCE
                   OF FEDERAL HABEAS PROCEEDINGS

Lee B. Kovarsky                        JASON D. HAWKINS
Principal                              Federal Public Defender
Phillips Black, Inc.
Texas Bar No. 24053310                 JEREMY SCHEPERS
727 East Dean Keeton St, Jon 6.222     Supervisor, Capital Habeas Unit
Austin, TX 78705
434-466-8257 (tel.)                    Jessica Graf (TX 24080615)
l.kovarsky@phillipsblack.org           Derek VerHagen (TX 24090535)
                                       Assistant Federal Defenders
Kristin Swain
Associate                              Office of the Federal Public Defender
Phillips Black, Inc.                   Northern District of Texas
PO Box 8745                            525 S. Griffin St., Ste. 629
Saint Louis, MO 63101                  Dallas, TX 75202
(888) 532-0897                         214-767-2746 (phone) 214-767-2886 (fax)
k.swain@phillipsblack.org              jessica_graf@fd.org
                                       derek_verhagen@fd.org
                            THIS IS A CAPITAL CASE
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                                  INTRODUCTION

      Petitioner John Allen Rubio, by and through his undersigned counsel, and

pursuant to the procedure approved in Rhines v. Weber, 544 U.S. 269 (2005), moves

this Court to stay and hold in abeyance his federal habeas proceedings to permit him

to present his unexhausted claims to the state court. This Motion is based on the files

and records in this case and the following points and authorities.

      In his Amended Petition for Writ of Habeas Corpus (ECF. No. 24)1, Rubio sets

forth several meritorious claims that were not raised in state post-conviction

proceedings, and that are subject to authorization under Article 11.071 § 5, of the

Texas Code of Criminal Procedure:

      Claim 1: Rubio’s Sixth Amendment right to counsel was violated because the
      defense failed to include a mental health expert as a member of the defense
      team.

      Claim 3: Rubio’s Sixth Amendment right to counsel was violated because the
      defense failed to investigate and prepare for his guilt/innocence phase defense.

      Claim 4: Rubio’s right to due process under the Fourteenth Amendment was
      violated when the State engaged in a flagrant and ongoing pattern of
      misconduct.

      Claim 5: Rubio’s right to equal protection under the Fourteenth Amendment
      was violated when the State pursued the death penalty against him because of
      his indigent status and on the basis of a survey.

      Claim 6: Rubio’s due process rights, as set forth in Napue v. Illinois, were
      violated when the State elicited testimony that it knew, or should have known,
      to be false and misleading.




1Citations to other pleadings filed in this case will be styled as “ECF Doc. [#] at [page
#].” The page number cited will be the ECF page number listed at the top right corner
of the document.
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      Claim 7: Rubio’s Sixth Amendment right to counsel was violated because the
      defense failed to investigate and present evidence related to Rubio’s mental
      health during his prior incarceration.

      Claim 8: Rubio’s due process rights, as set forth in Napue v. Illinois, were
      violated when the State elicited false testimony from A.P. Merillat.

      Claim 9: Rubio’s due process rights, as set forth in Brady v. Maryland, were
      violated when the State failed to disclose Merillat’s false testimony in Velez.

      Claim 10: Rubio’s Sixth Amendment right to counsel was violated because the
      defense failed to prepare for, and rebut, Merillat’s false testimony during the
      punishment phase.

      As explained below, the Rhines stay necessary to litigate the “Unexhausted

Claims” in state court avoids (1) the inequitable and inefficient process of requiring

that a “mixed” petition, i.e. one containing both exhausted and unexhausted claims,

be dismissed in its entirety; and (2) the risk that this Court erroneously declare a

claim exhausted and procedurally defaulted when state remedies remain and state

courts would in fact consider it on the merits.

                                    ARGUMENT

      Before the Antiterrorism and Effective Death Penalty Act (“AEDPA”), federal

courts applied a “total exhaustion” rule pursuant to which they would dismiss,

without prejudice, “mixed” federal petitions that contained both exhausted and

unexhausted claims. See Rose v. Lundy, 455 U.S. 509, 510 (1982). AEDPA, however,

“dramatically altered the landscape for federal habeas corpus petitions,” and imposed

a one-year limitations period for the filing of federal petitions. Rhines, 544 U.S. at

274; see also 28 U.S.C. § 2244(d) (limitations provisions). In Rhines, the Supreme




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Court explained that Lundy unfairly combined with the limitations period to threaten

claims in mixed petitions:

      As a result of the interplay between AEDPA’s 1-year statute of
      limitations and [the total exhaustion requirement], petitioners who
      come to federal court with “mixed” petitions run the risk of forever losing
      their opportunity for any federal review of their unexhausted claims. If
      a petitioner files a timely but mixed petition in federal district court, and
      the district court dismisses it under Lundy after the limitations period
      has expired, this will likely mean the termination of any federal review.

544 U.S. at 275. Without a mechanism to allow the unexhausted claims to be included

in a timely petition, prisoners would simply have to omit them to avoid dismissal. To

avoid this unforeseen problem, the Supreme Court unanimously approved a stay-and-

abeyance procedure in Rhines. 544 U.S. at 279. “Under this procedure, rather than

dismiss the mixed petition pursuant to Lundy, a district court might stay the petition

and hold it in abeyance while the petitioner returns to state court to exhaust his

previously unexhausted claims.” Id. at 275.

      A Rhines stay is appropriate here. In the Fifth Circuit, a Rhines stay is

appropriate when: “(1) the district court determines there was good cause for the

petitioner’s failure to exhaust his claims in state court; (2) the claim is not plainly

meritless; and (3) there is no indication that the petitioner is engaging in abusive

litigation tactics or intentional delay.” Young v. Stephens, 795 F.3d 484, 495 (5th Cir.

2015) (citing Rhines, 544 U.S. at 277–78) (alterations and internal quotation marks

omitted).2 Mr. Rubio meets all three prongs with respect to the Unexhausted Claims.



2 See Rhines, 544 U.S. at 278 (“[I]t likely would be an abuse of discretion for a district
court to deny a stay and to dismiss a mixed petition if the petitioner had good cause
for his failure to exhaust, his unexhausted claims are potentially meritorious, and
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   I.      There is good cause for failure to present the pertinent claims in
           state court.

        The Fifth Circuit has held that Rhines does not require “good cause” in some

“technical sense,” but “rather intended the district court [to] find ‘good cause’ in the

equitable sense.” Ruiz v. Quarterman, 504 F.3d 523, 529 n.17 (5th Cir. 2007). For that

reason, the good-cause showing necessary for a Rhines stay is lower than the cause

showing necessary to excuse procedural default. See id. The requirement focuses on

the reason for not presenting a claim in the state post-conviction proceeding. Showing

good cause requires “a reasonable excuse, supported by evidence to justify a

petitioner’s failure to exhaust.” Blake v. Baker, 745 F.3d 977, 982 (9th Cir. 2014)

(citing Pace v. DiGuglielmo, 544 U.S. 408, 416 (2005)). “Good cause for [a Rhines stay]

should not require an extraordinary or unreasonable showing.” Lopez v. Stephens,

No. CV B-15-144, 2016 WL 4126014, at *4 (S.D. Tex. Apr. 25, 2016).3 For ease of

understanding, the subsections that follow are divided into material applicable to

ineffective-assistance-of-trial-counsel (“IATC”) claims and material applicable to non-

IATC claims.




there is no indication that the petitioner engaged in intentionally dilatory litigation
tactics.”).
3 The Fifth Circuit has suggested, for example, that good cause might be lacking in a

case where: there was “no explanation for [a prisoner] waiting more than a year to
file his state habeas application[,]” Schillereff v. Quarterman, 304 F. App’x 310, 314
(5th Cir. 2008); a prisoner failed to exhaust because of “confusion” about state
administrative exhaustion requirements, Leachman v. Davis, 699 F. App’x 441, 442
(5th Cir. 2017); or when claims remain unexhausted because the state prisoner
requested dismissal of a state post-conviction application, Hall v. Thaler, 504 F. App’x
269, 284 (5th Cir. 2012).
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          A. State post-conviction counsel’s inadequate performance is good
             cause for failure to raise unexhausted IATC Claims 1, 3, 7, and
             10.

      It is by now well established that ineffectiveness of state post-conviction

counsel can be cause for having not presented an IATC claim to a Texas court. See

Trevino v. Thaler, 569 U.S. 413, 417 (2013); Norman v. Stephens, 817 F.3d 226, 232

(5th Cir. 2016). The ineffectiveness of state post-conviction counsel that demonstrates

cause necessary to excuse procedural default also shows cause necessary to grant a

Rhines stay. See Ruiz, 504 F.3d at 529 n.17; see also Blake, 745 F.3d at 983–84

(holding district court had abused its discretion when it determined that a Martinez

excuse would not show cause for Rhines purposes). Indeed, this Court should find

good cause for Rhines purposes even if it expects that it might not find that state post-

conviction counsel’s performance rises to a level that would excuse procedural default.

The material pertaining to state post-conviction counsel’s performance is set forth in

the Amended Petition (ECF Doc. 24 at 65–68, 116, 157, 172–73) and the

contemporaneously-filed Reply (ECF Doc. 41 at 36–38, 89–90, 138–40, 148–50), and

that material demonstrates the cause necessary to grant a Rhines stay as to the

Unexhausted IATC claims: Claims 1, 3, 7, and 10.

          B. State post-conviction counsel’s inadequate performance is good
             cause for failure to raise unexhausted (Non-IATC) Claims 4, 5, 6,
             8, and 9.

      As noted above, cause that excuses procedural default is sufficient to show

cause for a Rhines stay, but it is not necessary. See Ruiz, 504 F.3d at 529 n.17. As

explained in the Amended Petition, Rubio acknowledges that neither the Supreme


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Court nor the Fifth Circuit has yet held ineffectiveness of state post-conviction

counsel can be cause for forfeiting any non-IATC claims. ECF Doc. 24 at 129 n. 80,

140 n. 97. But because the cause showing for Rhines is lower than the showing for

cause under procedural default, this Court should permit exhaustion of other claims

that could not have been asserted at trial.

      Even the most ardent Justices opposing Martinez and Trevino concede that,

from an equitable perspective—the perspective required by Ruiz—“[t]here is not a

dime’s worth of difference in principle between those cases and many other cases in

which initial state habeas will be the first opportunity for a particular claim to be

raised[.]” Martinez v. Ryan, 566 U.S. 1, 19 (2012) (Scalia, J., dissenting). These

Justices explained that it “insults the reader’s intelligence” to posit a meaningful

difference between permitting ineffective state post-conviction performance to show

cause for excusing default of IATC claims, but refusing to permit it to show cause for

excusing default of prosecutor misconduct claims. See id.

      The performance of Rubio’s state post-conviction counsel should allow him to

return to state court to seek remedies on his non-IATC claims for two reasons. First,

as set forth in his pleadings, this Court should find that ineffective state post-

conviction counsel excuses forfeiture of non-IATC claims that could not have been

asserted on direct review. Second, even if this Court does not so find, it should still

find good cause under Rhines because that showing is less than what is necessary to

excuse a procedural default. As a result, this Court should find that good cause exists

with respect to non-IATC Claims 4, 5, 6, 8, and 9.



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            C. There is good cause, unassociated with deficiencies in state
               post-conviction counsel’s performance, for failure to present
               Claims 4 and 5.

         For the reasons set forth in the contemporaneously-filed Reply, there was

cause for failing to present non-IATC Claims 4 and 5 in the initial state application.

ECF Doc. 41 at 104–06, 122–23. Specifically, reasonably diligent counsel could not

have known that the subsequently-imprisoned District Attorney had polled his

jurisdiction to determine whether a capital prosecution of Rubio would be politically

popular. Even if this Court expects that it might not find that such circumstances

excuse procedural default, it should still find good cause for Rhines purposes because

the cause threshold for that rule is lower. See 504 F.3d at 529 n.17.

   II.      The claims are not plainly meritless and a state remedy exists.

         To obtain a Rhines stay, Rubio must show that at least one of his unexhausted

claims is “potentially meritorious.” 544 U.S. at 277. A claim is “potentially

meritorious” under Rhines as long as it is not “plainly meritless.” Id. Under Fifth

Circuit law, a showing of merit refers not only to the elements of the constitutional

violation asserted, but also to whether the Texas Court of Criminal Appeals (“TCCA”)

would authorize subsequent litigation in state court. See Neville v. Dretke, 423 F.3d

474, 480 (5th Cir. 2005). A Rhines movant must therefore show the non-triviality of:

(1) the underlying constitutional claim; and (2) the argument that the TCCA would

authorize the litigation.




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          A. The unexhausted claims are not frivolous.

      With respect to the merit of the underlying claims, a Rhines movant need only

show that they are non-frivolous. See, e.g., Canales v. Quarterman, No. 2:03-cv-069,

2007 WL 922150, at *3 (E.D. Tex. Mar. 23, 2007) (making determinations “from the

face” of petition); Murphy v. Thaler, No. 3:10-CV-163, 2010 WL 2381500, at *3 (N.D.

Tex. June 8, 2010) (claims not plainly meritless because “allegations, if true, could

form the basis for habeas corpus relief”); cf. R. Gov’g § 2254 Proc. U.S. Dist. Cts. 4,

advisory committee note (noting that purpose of “plainly meritless” review is to

“screen out frivolous applications”). The Unexhausted Claims are not frivolous for the

reasons set forth in the Amended Petition and the Reply, the pertinent sections of

which are incorporated by this reference as if fully set forth herein.

          B. There is a nontrivial chance that the TCCA would authorize
             litigation.

      With respect to the availability of a state remedy, Rubio need only show that

there is a nontrivial chance that the TCCA would authorize a subsequent state

application. See Neville, 423 F.3d at 480. In order to facilitate litigation of newly

discovered clams in subsequent applications, Texas Code of Criminal Procedure

Article 11.071 § 5 provides:

      (a) If a subsequent application for a writ of habeas corpus is filed after
      filing an initial application, a court may not consider the merits of or
      grant relief based on the subsequent application unless the application
      contains sufficient specific facts establishing that: (1) the current claims
      and issues have not been and could not have been presented previously
      in a timely initial application or in a previously considered application
      filed under this article or Article 11.07 because the factual or legal basis
      for the claim was unavailable on the date the applicant filed the previous
      application.

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Article 11.071 § 5(e) explains that “a factual basis of a claim is unavailable on or

before a date described by Subsection (a)(1) if the factual basis was not ascertainable

through the exercise of reasonable diligence on or before that date.” In short, to satisfy

Rhines, Rubio must show that there is a nontrivial chance that the “factual basis was

not ascertainable through the exercise of reasonable diligence” on or before October

11, 2013, or provide another non-trivial argument for why Article 11.071 § 5 does not

restrict subsequent state litigation.

                 1. There is a nontrivial chance the TCCA would authorize
                    litigation of IATC claims 1, 3, 7, and 10.

      Claims 1, 3, 7, and 10 are IATC claims, and there is a nontrivial chance that

the TCCA would, with respect to those claims, authorize subsequent state litigation.

In Ex parte Graves, the TCCA held that it would not authorize subsequent litigation

in a case where the performance of state habeas counsel was objectively deficient. 70

S.W.3d 103, 104–05 (Tex. Crim. App. 2002). Specifically, when faced with an

allegation that state habeas counsel’s ineffectiveness did double duty as (1) the

underlying constitutional claim, and (2) the showing necessary to satisfy Article

11.071, § 5(a), the TCCA held: “Because we find that competency of prior habeas

counsel is not a cognizable issue on habeas corpus review, applicant’s allegation

cannot fulfill the requirements of article 11.071 section 5 for a subsequent writ.” Id.

at 105.

      The TCCA and its members have since questioned whether Graves should

apply in cases (like this one) where the allegation of state habeas counsel’s


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ineffectiveness does not do double duty as the underlying allegation of wrongful

custody. See, e.g., Ex parte Ruiz, 543 S.W.3d 805, 826–32 (Tex. Crim. App. 2016)

(across different opinions, all members of the court suggesting that there was “good

cause” to revisit Graves);4 Ex parte Alvarez, 468 S.W.3d 543, 545 (Tex. Crim. App.

2015) (Yeary, Johnson, and Newell, JJ., concurring) (“[R]ecent developments in

federal habeas procedure, as well as, to a certain extent, the rationale underlying

those new developments, counsel that the Court should revisit the holdings of Graves”

in an appropriate case). There is a nontrivial chance that, in cases where the deficient

performance of state habeas counsel explains the failure to include a distinct Sixth

Amendment IATC allegation in the initial application, the TCCA may authorize

subsequent litigation under § 5.

      Since Graves was decided, the rationale for applying it to cases like Rubio’s has

collapsed. More specifically, gone are the policy and decisional predicates for refusing

authorization when the ineffectiveness of state post-conviction counsel is merely

asserted as the basis for permitting consideration of a distinct IATC claim.

      For states like Texas, where challenging the effectiveness of trial counsel on

direct appeal is formally or functionally foreclosed, there is now near-universal




4 See Ex parte Ruiz, 543 S.W.3d 805, 827 (Tex. Crim. App. 2016) (Richardson, J.,
joined by Keller, P.J., and Meyers, Johnson, Keasler, and Newell, JJ.) (noting “good
cause” to consider application of Graves in such cases); id. at 827 (Johnson, J.,
concurring) (“we should revisit Ex parte Graves” in the appropriate case); id. at 831
(Alcala, J., dissenting) (arguing that a death-sentenced prisoner is entitled to merits
review when “he received incompetent representation during the initial state habeas
proceeding, and when that incompetent representation has resulted in the forfeiture
of one or more substantial claims for relief”).
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recognition that state post-conviction proceedings are the most crucial forum for

enforcing the Sixth Amendment right. Indeed, even though the trial is the “main

event” in the sense that it is the primary forum for determining guilt and innocence,

enforcing the “bedrock” Sixth Amendment right on direct appeal is practically

impossible. See Trevino, 569 U.S. at 422, 428; see also Ex parte Torres, 943 S.W.2d

469, 475 (Tex. Crim. App. 1997) (listing a number of reasons why the Sixth

Amendment right to counsel cannot meaningfully be enforced on direct review).

These enforcement needs mean that state collateral review is the “one and only

opportunity” to raise claims of trial counsel’s ineffectiveness in state court in Texas

capital cases. Ex parte Buck, 418 S.W.3d 98, 109 (Tex. Crim. App. 2013) (Alcala, J.,

dissenting).   Competent    state   post-conviction   counsel    are   indispensable    to

investigating and presenting these trial counsel ineffectiveness claims. See Alvarez,

468 S.W.3d at 547 (Yeary, J., concurring).

      The Texas rule that the ineffectiveness of state post-conviction counsel cannot

permit a prisoner to bypass Article 11.071 § 5 is also predicated on federal rules that

no longer exist. Graves, for example, relied heavily on Coleman v. Thompson, 501 U.S.

722 (1991), for the proposition that deficient post-conviction attorney performance

could not excuse forfeiture—because forfeiture could be excused only if there existed

a constitutional right to state post-conviction counsel. See 70 S.W.3d at 110, 111 n.30;

see also Ruiz, 543 S.W.3d at 826 n.78 (citing Graves citing Coleman). In 2012,

however, the Supreme Court invalidated that reading of Coleman. In recognition that

“[t]he right to the effective assistance of counsel at trial is a bedrock principle in our



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justice system,” the Court held that inadequate state post-conviction performance

could excuse forfeiture of an IATC claim. Martinez, 566 U.S. at 9, 12. In Trevino, the

U.S. Supreme Court expressly held that Martinez applied in favor of Texas prisoners.

See 569 U.S. at 428–29. In other words, Martinez and Trevino are sweeping changes

that extinguish a basic rationale for an expansive reading of Graves.

      The State of Texas has itself taken a position critical of Graves in other

litigation. In Trevino, the Director argued that, if forfeited IATC claims could be

subject to merits litigation in federal court, there should be a corresponding change

to facilitate prior merits review in state court—a step that requires the TCCA to reject

a broad application of Graves. Specifically, in Trevino the State of Texas “submit[ted]

that its courts should be permitted, in the first instance, to decide the merits of

Trevino’s ineffective-assistance-of-trial-counsel claim.” 569 U.S. at 429 (citing Brief

for Respondent 58–60); see also Brief for the Respondent at 58–59, Trevino v. Thaler,

569 U.S. 413 (2013) (No. 11-10189) (“If this Court changes the [rule against excusing

forfeiting IAC claims] now, equity demands at a minimum that the CCA have an

opportunity to reevaluate its procedural ruling and adjudicate Trevino’s [IAC] claim

on the merits.”).

      A TCCA decision rejecting a broad reading of Graves—that is, refusing to apply

it in scenarios where the deficiency of post-conviction counsel is simply asserted as

the basis for excusing forfeiture of a distinct claim—is doctrinally quite minor. There

are four ways for the TCCA to implement a Texas rule that mimics Martinez and

Trevino. First, it might recognize that the nominally subsequent application is



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effectively the first application because initial state post-conviction counsel did not

file a proper application. See Alvarez, 468 S.W.3d at 550–51 (citing and expanding on

logic from Ex parte Medina, 361 S.W.3d 633, 641 (Tex. Crim. App. 2011)).

      Second, the TCCA might recognize that the denial of effective state post-

conviction counsel, in a jurisdiction that provides a statutory guarantee to competent

capital state post-conviction representation, violates due process. This position is the

one taken by Judges Yeary, Johnson, and Newell in Alvarez:

      [T]here is an unequivocal and absolute statutory right to counsel
      (indeed, “competent counsel”) for death row inmates in Texas under
      Article 11.071. The right to effective assistance of appellate counsel that
      Evitts v. Lucey recognized was a function of the due process “entitlement
      doctrine” . . . . Texas is not required by the federal constitution to provide
      post-conviction habeas corpus proceedings; nor is it required to provide
      counsel for those inmates who wish to take advantage of the post-
      conviction habeas corpus proceedings that Texas in fact provides. . . .
      But in the context of capital cases, Texas has chosen unequivocally to
      provide both. Having provided those absolute rights, albeit by state law,
      it may not arbitrarily take them away without impinging on the
      applicant’s due process rights. That is the essence of the Supreme
      Court’s entitlement doctrine. Evitts v. Lucey, 469 U.S. at 400–01. It is
      arguable that the statutory right to counsel to which Article 11.071,
      Section 2(a), entitles Applicant would be taken from him arbitrarily, in
      violation of due process, if it does not embrace the right to effective
      counsel—at least for those claims that can be raised only for the first
      time in post-conviction proceedings. After all, as Martinez now
      establishes, in that context the need for effective counsel is as great as
      the need for effective counsel on direct appeal.

468 S.W.3d at 547–48 (Yeary, J., concurring) (footnote and citations omitted).

      Third, the TCCA could recognize that IATC claims are not “available” at the

time of the first post-conviction application, within the meaning of art. 11.071

§ 5(a)(1), when counsel filing the application performs deficiently. The factual basis

for a claim is “unavailable” if it “was not ascertainable through the exercise of

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reasonable diligence” on or before the date the initial or a previously considered

application was filed. Tex. Code Crim. Proc. art. 11.071, § 5(e). A colorable claim of

ineffective assistance of original habeas counsel, raised in a subsequent application,

should rightfully be recognized as newly available for purposes of § 5(a)(1) and (e).

See Graves, 70 S.W.2d at 121 (Price, J., dissenting) (the legislature did say that it

intended “ineffective assistance of writ counsel to be an exception to the section five

bar on subsequent applications,” in the language of sections 5(a)(1) and (e)); see also

Ex parte Foster, No. WR-65,799-02, 2010 WL 5600129, at *2 (Tex. Crim. App. Dec.

30, 2010) (Price, J., dissenting) (suggesting the court examine the issue directly).

       Indeed, for an IATC claim to be “available”—meaning that prisoners can avail

themselves of the protections for the right to adequate assistance of trial counsel—

there is a “need for a new lawyer,” a “need to expand the trial court record,” and a

“need . . . to develop the claim.” Trevino, 569 U.S. at 428. If state habeas counsel

(presumably a “new lawyer”) is ineffective in satisfying the latter two necessities—as

to an IATC claim—then the claim is simply not available for the applicant at the time

the application is filed. An incarcerated death row prisoner lacking adequate

representation simply cannot, through the exercise of reasonable diligence, expand

the trial court record or meaningfully develop the claim. See Martinez, 566 U.S. at 12

(“While confined to prison, the prisoner is in no position to develop the evidentiary

basis for a claim of ineffective assistance, which often turns on evidence outside the

trial record.”).




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      Fourth, the TCCA could simply revisit the definition of “competent counsel”

used in Tex. Code Crim. Proc. art. 11.071. A death-sentenced prisoner in Texas is

dependent upon “competent counsel” to “investigate expeditiously . . . the factual and

legal grounds” for filing a habeas application. Tex. Code Crim. Proc. art. 11.071

§§ (2)(a), 3(a). In Graves, the TCCA held state post-conviction counsel’s competency

“only concerns habeas counsel’s qualifications, experience, and abilities at the time of

his appointment.” Id. at 114. By limiting the definition of competent counsel to

appointment, Graves unreasonably precluded applicants from challenging the

incompetence of counsel’s performance during representation. See Alvarez, 468

S.W.3d at 548–49 (Yeary, J., concurring) (“Article 11.071 as a whole contemplates

more than just the appointment of an attorney who is capable of providing competent

representation if he chooses to do so. If it did not, then the statutory right to counsel

would be no less of a ‘futile gesture’ than a constitutional right to counsel that does

not ‘comprehend[] the right to effective assistance of counsel.’”) (quoting Evitts v.

Lucey, 469 U.S. 387, 397 (1985))); Graves, 70 S.W.3d at 121 (Price, J., dissenting)

(“The appointment of counsel is meaningless without the requirement that counsel

be competent.”); id. at 130 (Holcomb, J., dissenting) (“The only sensible interpretation

of ‘competent counsel’ is the traditional one: counsel reasonably likely to render, and

rendering, effective assistance.”).

      Because there is a nontrivial chance that the TCCA would authorize

subsequent litigation over an IATC claim where original state habeas counsel was

deficient, all that Rubio need demonstrate is a nontrivial chance that he could show



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such deficiency. For the reasons set forth in the Amended Petition (ECF Doc. 24 at

65–68, 116, 157, and 172–73) and Reply (ECF Doc. 41 at 36–38, 89–90, 138–40, 148–

50), which are hereby incorporated by reference, Rubio has cleared that exceedingly

low bar.

                 2. There is a nontrivial chance the TCCA would authorize
                    litigation of non-IATC claims 4, 5, 6, 8, and 9.

       Claims 4, 5, 6, 8, and 9 are non-IATC claims, and there is a nontrivial chance

that the TCCA would, with respect to those claims, authorize subsequent state

litigation—for two reasons. First, the arguments as to why procedural default would

be excused in federal court set forth in the Amended Petition (ECF Doc. 24 at 129,

137–41, 151, 165–66, 170) and in the Reply (ECF Doc. 41 at 104–06, 122–23, 130–31,

143–44, 146–46), also show that there is a nontrivial chance that the TCCA would

find, under Article 11.071 § 5(a)(1), that these claims were not “available” on the date

that the initial state post-conviction application was filed in this case. Second, there

is a nontrivial chance that, for the same reasons that the TCCA could reject a broad

reading of Graves and recognize that ineffective state post-conviction representation

excuses forfeiture of IATC claims, it would recognize that ineffective state post-

conviction representation might excuse forfeiture of other types of claims that cannot

be litigated at trial or direct appeal.

   III.    There is no indication that Rubio has abusively and intentionally
           engaged in delay.

       Rubio has not engaged in “intentionally dilatory litigation tactics” that would

prevent this Court from granting his motion to stay proceedings. Courts have been


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reluctant to grant Rhines stays because of such tactics—for example, when a state

prisoner waited to request a Rhines stay until after the district court denied the

habeas petition. There is not a whiff of intentional delay in this case. In contrast to

other cases where courts have found intentional delay, Rubio is seeking Rhines relief

at his very first opportunity in federal court. Until Rubio had filed his Petition, there

was not any proceeding to stay and hold in abeyance. He has not delayed his request

until some advanced phase of this proceeding; it comes at the same time he files his

Reply, and in response to the Director’s assertion that the claims should be denied

because they are exhausted and procedurally defaulted. Rhines permits this Court to

hold these proceedings in abeyance to permit appropriate consideration of claims that

are unexhausted (and therefore not defaulted).

                                   CONCLUSION

      Rubio respectfully requests this Court enter an order staying his federal

habeas corpus proceeding and holding it in abeyance to file an application for writ of

habeas corpus in state court, which undersigned counsel will file if this Motion is

granted. To the extent the Director disputes the factual averments set forth in this

Motion, Rubio requests an evidentiary hearing, and to the extent this Court considers

it helpful in making its determination, Rubio requests an oral argument.




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                                     Respectfully Submitted,

DATE: November 16, 2020

/s/ Lee Kovarsky                     JASON D. HAWKINS
Lee B. Kovarsky                      Federal Public Defender
Principal
Texas Bar No. 24053310               JEREMY SCHEPERS
727 East Dean Keeton St, Jon 6.222   Supervisor, Capital Habeas Unit
Austin, TX 78705
434-466-8257 (tel.)                  /s/ Jessica Graf
l.kovarsky@phillipsblack.org         Jessica Graf (TX 24080615)

/s/ Kristin Swain                    /s/ Derek VerHagen
Kristin Swain                        Derek VerHagen (TX 24090535)
Associate                            Assistant Federal Public Defenders
Phillips Black, Inc.
PO Box 8745                          Office of the Federal Public Defender
Saint Louis, MO 63101                Northern District of Texas
(888) 532-0897                       525 S. Griffin St., Ste. 629
k.swain@phillipsblack.org            Dallas, TX 75202
                                     214-767-2746
                                     214-767-2886 (fax)
                                     jessica_graf@fd.org
                                     derek_verhagen@fd.org

                                     Counsel for Petitioner




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                      CERTIFICATE OF CONFERENCE

      On November 16, 2020, undersigned counsel for Rubio conferred with counsel

for the Director, Assistant Attorney General Garrett Greene, in an effort to resolve

this matter by agreement. The Director’s counsel advised that he is opposed to this

Motion.

                                                          /s/ Jessica Graf
                                                          Jessica Graf




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                         CERTIFICATE OF SERVICE

      On November 16, 2020, a copy of the foregoing motion was served upon Garrett

Greene, Assistant Attorney General, via the CM/ECF system.

                                                  /s/ Jessica Graf
                                                  Jessica Graf




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